Case: 2:21-cv-00625-ALM-CMV Doc #: 94 Filed: 07/20/22 Page: 1 of 3 PAGEID #: 339




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JOSE L. MONTEIRO                                  CASE NO. 2:21-cv-625

        Plaintiffs,                               JUDGE ALGENON L. MARBLEY

  vs.                                             MAGISTRATE CHELSEY M. VASCURA

JEFF WYLER COLUMBUS, INC. et al.
d/b/a Jeff Wyler Chevrolet of Columbus

        Defendant(s)



  JOINT STIPULATION OF DISMISSAL OF PLAINTIFF’S COMPLAINT AGAINST
                          ALL DEFENDANTS

        Plaintiff Jose Monteiro, Defendants Jeff Wyler Columbus, Inc., Ally Bank, Capital One

Auto Finance, a division of Capital One, N.A., Citizens Financial Group, Inc., Fifth Third Bank,

N.A., Global Lending Services LLC, Manufacturers and Traders Trust Company d/b/a M&T

Bank, Park National Corporation of Southwest Ohio and Northern Kentucky, and U.S. Bank

National Association, Defendant JP Morgan Chase Bank, N.A., Defendant Santander Consumer

USA, Inc., and Defendant Americredit Financial Services, Inc., through their respective counsel,

hereby stipulate that Plaintiff’s Complaint against all Defendants is hereby dismissed with

prejudice pursuant to Civ. R. 41. The parties shall bear their own costs.

Respectfully submitted,

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Case: 2:21-cv-00625-ALM-CMV Doc #: 94 Filed: 07/20/22 Page: 2 of 3 PAGEID #: 340




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                                                One, N.A., Citizens Financial Group, Inc., Fifth
                                                Third Bank, N.A., Global Lending Services LLC,
                                                Manufacturers and Traders Trust Company d/b/a
                                                M&T Bank, Park National Corporation of
                                                Southwest Ohio and Northern Kentucky, and U.S.
                                                Bank National Association

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 20, 2022 that a true and accurate copy of the foregoing
Stipulation of Dismissal was filed via the CM/ECF system that will send notification to all
counsel of record.
Case: 2:21-cv-00625-ALM-CMV Doc #: 94 Filed: 07/20/22 Page: 3 of 3 PAGEID #: 341




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